Case 3:24-mc-80266-JCS Document 2-12 Filed 10/24/24 Pagetlof1

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

X Affidavit of Service
NINA AGDAL Civil Action No. 2:23-CV-16873-MCA-MAH
Plaintiff,
-against-
DILLON DANIS,
Defendant.
x

STATE OF_CaAr furan sen )
)ss.:
COUNTY OF San Faanerece )

Kevin Hu, being duly sworn, deposes and says that Deponent is not a party to this action,
and is over 18 years of age, and is a resident of the State of /«A« fia Wi &

On February 23, 2024, at approximately 3:11 p.m., at 1355 Market St suite 900, suite 900
San Francisco, CA 94103. Deponent served the within Subpoena To Produce Documents,
Information, Or Objects Or To Permit Inspection Of Premises In A Civil Action; Federal Rule Of Civil
Procedure 45 (C), (D}, (E), And (G) (Effective 12/1/13); Subpoena Attachment; Certification Of
Domestic Records Of Regularly Conducted Activity upon: X Corp, by personally delivering to and
leaving with Ajanae Young, Security, a true and correct copy of said documents.

At the time of said service, Ajanae Young stated that she is authorized to accept
service on behalf of X Corp.

Ajanae Young is described as a black female, approximately 25 years of age, 170 Ibs, ,5’6”
tall with black hair.

Bo

Kevin Hu :

Sworn to before me this
26% day of February 2024

Litt Bly wf

= Notary Public

MAHESH BHAGAT |
COMM, #2418448 2
Notary Public - California 3

San Francisco County

Expires Sep, 25, 2026

